                   Case 19-50256-BLS     Doc 23     Filed 04/24/20      Page 1 of 8




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 7

    JEVIC HOLDING CORP., et al., 1                           Case No. 08-11006 (BLS)

                          Debtors.                           (Jointly Administered)


    THE CIT GROUP/BUSINESS CREDIT, INC., as agent
    for itself and the Lender Group,

                   v.                                        Adv. Pro. No. 19-50256 (BLS)

    JEVIC HOLDING CORP.; JEVIC
    TRANSPORTATION, INC.; CREEK ROAD
    PROPERTIES, LLC; GEORGE L. MILLER, solely in
    his capacity as Chapter 7 Trustee of the bankruptcy
    estates of Jevic Holding Corp., et al.; THE
    GOODYEAR TIRE & RUBBER CO.; ACTION
    CALENDAR & SPECIALTY CO., INC.; IRVING OIL
    CORPORATION; HARTFORD FIRE INSURANCE
    COMPANY; THE ILLUMINATING COMPANY;
    PITNEY BOWES GLOBAL FINANCIAL SERVICES,
    LLC; WILLIAMS SCOTSMAN, INC.; SUNGARD
    AVAILABILITY SERVICES LP; PACHULSKI
    STANG ZIEHL & JONES LLP; MORRIS
    ANDERSON & ASSOCIATES; and KLEHR,
    HARRISON, HARVEY, BRANZBURG & ELLERS
    LLP,                                                     Response Deadline: May 15, 2020
                                                             Hearing Date: June 17, 2020 @ 10:00 a.m.

                          Defendants.                        Related to Adv. Pro. Docket Nos. 19 and 20



               JOINDER OF MORRIS ANDERSON & ASSOCIATES
      TO THE MOTION OF PACHULSKI STANG ZIEHL & JONES LLP TO DISMISS
    COMPLAINT FOR FAILURE TO STATE A CLAIM PURSUANT TO F.R.C.P. 12(b)(6)




1
  The Debtors in these Chapter 7 cases, along with the last four digits of the Debtors’ federal tax
identification numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic
Transportation, Inc. (3402).


PHIL1 8840695v.1
                    Case 19-50256-BLS         Doc 23      Filed 04/24/20      Page 2 of 8




          Morris Anderson & Associates (“MA”) hereby joins (the “Joinder”) in Pachulski Stang

Ziehl & Jones LLP’s Motion to Dismiss Complaint for Failure to State a Claim Pursuant to

F.R.C.P. 12(b)(6) [Adv. Pro. Docket No. 19] (the “Motion”) and supporting Brief [Adv. Pro.

Docket No. 20] (the “Brief”)2 filed in connection with the Motion and reserves its right to file any

responsive pleadings with respect to the Motion and be heard at any hearing on the Motion. In

support of its Joinder, the MA respectfully represents, in addition to the facts and legal arguments

set forth in the Brief which are incorporated by reference herein as to MA, as follows:

               I.     INTRODUCTION AND SUMMARY OF ADDITIONAL FACTS

      A. The Bankruptcy Cases

          1.        On May 20, 2008 (the “Petition Date”), Jevic Holding Corporation (“Jevic

Holding”), Creek Road Properties, LLC, and Jevic Transportation, Inc. (collectively, the

“Debtors”) filed voluntary petitions for relief under chapter 11 of Title 11 of the United States

Code (the “Bankruptcy Code”) in this Court (the “Bankruptcy Court”), commencing the above-

captioned bankruptcy cases (the “Cases”).3

          2.        On June 4, 2008, the United States Trustee appointed the Official Committee of

Unsecured Creditors of the Debtors (the “Committee”). 4

      B. The Liquidation of Assets for the benefit of CIT

          3.        The Debtors were a hybrid less-than-truckload and truckload carrier that provided

regional and inter-regional time definite delivery across the United States and parts of Canada.




2
    Capitalized terms not otherwise defined herein shall have the meaning ascribed to such term as set forth
in the Brief.
3
  References to pleadings filed in the Cases are indicated by “D.I.”
4
  D.I. 77.

                                                      2
PHIL1 8840695v.1
                   Case 19-50256-BLS        Doc 23     Filed 04/24/20    Page 3 of 8




        4.         Immediately prior to the Petition Date, the Debtors commenced a wind-down

process pursuant to which they ceased substantially all of their operations and terminated

approximately 90% of their employees. Post-petition, all of the Debtors’ tangible assets were

liquidated, and the proceeds were used to repay the outstanding obligations owed to CIT

Group/Business Credit, Inc. (“CIT”).

    C. The consensual use of cash collateral, provisions for a Carve-Out for Professionals
       including MA, and Final Approval of Professional Fees and Expenses

        5.         The Debtors funded the liquidation of their assets and wind down of their business

through a series of orders authorizing debtor-in-possession financing and the consensual use of

cash collateral that each included the funding of budgeted “carve-outs” of the secured lenders’

collateral for the payment of estate professionals, including MA. The cash collateral orders and

the amount of the budgeted carve-outs for MA reflected in each cash collateral order, aggregating

$1,530,000.00, are as follows (collectively, the “Cash Collateral Orders”):

        (a)        Final Order (I) Authorizing Debtors-In-Possession to Obtain Senior Debtor-in-
                   Possession Financing; (II) Granting Liens, Security Interests and Superpriority
                   Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording Adequate
                   Protection to Prepetition Lenders [D.I. 118], with a budgeted “carve-out” for MA
                   of $570,000;

        (b)        Order (1) Authorizing Debtors-in-Possession to Enter into First Amendment to
                   Debtor-in-Possession Credit, Guaranty, and Security Agreement; and (2)
                   Amending Final Order (I) Authorizing Debtors-in-Possession to Obtain Senior
                   Debtor-in-Possession Financing; (II) Granting Liens, Security Interests, and
                   Superpriority Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording
                   Adequate Protection to Prepetition Lenders [D.I. 217], with a budgeted “carve-out”
                   for MA of $80,000;

        (c)        Order (1) Authorizing Debtors-in-Possession to Enter Into Second Amendment to
                   Debtor-in-Possession Credit, Guaranty and Security Agreement; and (2) Amending
                   Final Order (I) Authorizing Debtors-in-Possession to Obtain Senior Debtor-in-
                   Possession Financing; (II) Granting Liens, Security Interests, and Superpriority
                   Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording Adequate
                   Protection to Prepetition Lenders [D.I. 290], with a budgeted “carve-out” for MA
                   of $74,000;


                                                   3
PHIL1 8840695v.1
                   Case 19-50256-BLS       Doc 23      Filed 04/24/20   Page 4 of 8




        (d)        Order (1) Authorizing Debtors-in-Possession to Enter Into Third Amendment to
                   Debtor-in-Possession Credit, Guaranty and Security Agreement; and (2) Amending
                   Final Order (I) Authorizing Debtors-in-Possession to Obtain Senior Debtor-in-
                   Possession Financing; (II) Granting Liens, Security Interests, and Superpriority
                   Status; (III) Authorizing Use of Cash Collateral; and (IV) Affording Adequate
                   Protection to Prepetition Lenders [D.I. 368], with a budgeted “carve-out” for MA
                   of $50,000;

        (e)        Order (A) Authorizing the Debtors' Use of Cash Collateral, and (B) Granting
                   Adequate Protection [D.I. 477], with a budgeted “carve-out” for MA of $174,000;

        (f)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 582], with a budgeted “carve-out” for MA of $94,000;

        (g)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 654], with a budgeted “carve-out” for MA of $45,000;

        (h)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 715], with a budgeted “carve-out” for MA of $58,000;

        (i)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [Docket No. 862], with a budgeted “carve-out” for MA of $105,000;

        (j)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1017], with a budgeted “carve-out” for MA of $50,000;

        (k)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1103], with a budgeted “carve-out” for MA of $30,000;

        (l)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1166 , with a budgeted “carve-out” for MA of $20,000;

        (m)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1223 , with a budgeted “carve-out” for MA of $20,000;

        (n)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1312], with a budgeted “carve-out” for MA of $35,000;

        (o)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1405], with a budgeted “carve-out” for MA of $35,000;

        (p)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1511], with a budgeted “carve-out” for MA of $15,000;

        (q)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1586], with a budgeted “carve-out” for MA of $15,000;


                                                   4
PHIL1 8840695v.1
                   Case 19-50256-BLS          Doc 23     Filed 04/24/20    Page 5 of 8




        (r)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I.1587 , with a budgeted “carve-out” for MA of $30,000; and

        (s)        Order Authorizing the Debtor's Use of Cash Collateral and Granting Adequate
                   Protection [D.I. 1675], with a budgeted “carve-out” for MA of $30,000.

        6.         In addition to the $1,530,000.00 of funded “carve-outs” under the Cash Collateral

Orders, as reflected on the Debtor-In-Possession Monthly Operating Report for Filing Period May

20, 2008 - June 30, 2008 for Jevic Transportation, Inc. [D.I. 190], MA held a retainer of

$153,076.00 at the commencement of the cases. Consequently, the total amount of funds carved

out of secured creditors collateral and retainer held by MA to fund payment of fees and expenses

of MA was $1,683,076 (collectively, the “MA Carve-Out”).

        7.         On September 9, 2013, the MA filed the Notice of Quarterly and Final Statement

of Morris Anderson & Associates [D.I. 1714] (the “Final Fee Statement”) seeking on a final basis

payment of fees and expenses to MA in the amount of $1,311,684, an amount that was $371,442

less than the MA Carve-Out.

                                        II.     MA’S JOINDER

        8.         MA agrees with the arguments set forth in the Motion and Brief, including the relief

requested therein, and accordingly files this Joinder in support of the Motion, incorporates by

reference, and hereby joins in, and adopts, all arguments set forth in the Brief, and sets forth the

additional basis in support of the request of MA to dismiss the Complaint as to MA.

                              III.       ADDITIONAL ARGUMENT

        A. CIT fails to state a claim for a declaratory judgment against MA

        9.         In the first instance, Count 1 seeks a declaratory judgment that, among other things,

“(ii) CIT is entitle[d] to recover from [MA] the funds disbursed from the Administrative Fund.




                                                     5
PHIL1 8840695v.1
                   Case 19-50256-BLS        Doc 23      Filed 04/24/20    Page 6 of 8




        10.        The MA Carve-Out set forth in the Cash Collateral Orders totaled $1,683,976.00.

The unopposed Final Fee Statement provided for the payment of fees and expenses to MA in the

amount of $1,311,684, an amount that was $371,442 less than the MA Carve-Out.

        11.        The Administrative Fund was not the sole source of payment to administrative

creditors. The Debtors had funds on hand as well as the carve-out amounts under the Cash

Collateral Orders to pay MA and other professionals. Because the MA Carve-Out was not

exhausted by the f approved fees and expenses of MA, the Administrative Fund was not needed to

pay MA. Rather, the Administrative Fund was used to pay other administrative and other claims.

        12.        MA’s entitlement to payment from the Debtors’ estates did not arise from the

Settlement Agreement, but rather by virtue of sections 363 of the Bankruptcy Code. Moreover,

the Court approved MA’s fees for services rendered and expenses incurred in furtherance of its

services for the Debtors through unopposed Fee Statements consistent with the MA Retention

Order (collectively, the “Fee Statements”)—which CIT never opposed—not the Settlement

Agreement Order.

        13.        Consequently, there is no factual or legal basis for CIT to recover damages or

restitution from MA, nor is it entitled to a declaratory judgment to that effect.

        B. The Complaint fails to state a claim for Restitution against MA and Even if
           “Restitution Due to Unjust Enrichment” could displace section 549 of the
           Bankruptcy Code, it would be inequitable to do so against MA.

        14.        Restitution is an equitable remedy, and no party is absolutely entitled to it in all

circumstances. See, e.g., Nelson, 137 S. Ct. at 1260 (restitution is “‘equitable in origin and

function,’ and return of the money was ‘not of mere right,’ but ‘rest[ed] in the exercise of a sound

discretion.’”) (quoting Atlantic Coast R. Co., 295 U.S. at 309-10). Similarly, unjust enrichment




                                                    6
PHIL1 8840695v.1
                   Case 19-50256-BLS        Doc 23     Filed 04/24/20    Page 7 of 8




“is undoubtedly equitable and depends upon broad considerations of equity and justice.”

Paramount Film Distrib. Corp. v. State, 30 N.Y.2d 415, 421 (1972).

        15.        MA has not been unjustly enriched, nor is it inequitable that MA received the

payments from the Debtors. MA’s entitlement to payments did not arise out of the Settlement

Agreement or Settlement Approval Order, but through the MA Retention Order, Fee Statements

and Cash Collateral Orders. MA was paid from available estate funds and, specifically here, from

the MA Carve-Out. Furthermore, in no way did MA act inequitably. MA was paid for services

rendered to the Debtors (including services to liquidate the assets of the Debtors that paid CIT in

full and in support of the settlement CIT was supporting as well) and was entitled to rely on the

Court’s Final Fee Order allowing its fees and expenses on a final basis under section 330 of the

Bankruptcy Code when it received payment. Also, CIT was aware the payment was made and did

not request or obtain the agreement of MA (or any other professional) to return the funds if the

Settlement Approval Order were overturned. CIT was under no compulsion to pay the $2,000,000

unless a Final Order were entered, and assumed the risk of closing on less than a Final Order that

unwinding the settlement and recouping its settlement payment was not assured. CIT closed in

the face of the Settlement Approval Order not being final for its own benefit.

        16.        “[R]estitution is inequitable where the payor seeks to recoup a payment, though he

has obtained a benefit from that payment which he intends to retain.” Mazza v. Sheet Metal

Workers’ Nat’l Pension Fund, 410 F. App’x 464, 468 n.1 (3d Cir. 2010) (citing Operating Eng’rs

Local 139 Health Benefit Fund v. Gustafson Constr., 258 F.3d 645, 651 (7th Cir. 2001)). But that

is precisely what CIT is trying to do here. By simultaneously seeking $2 million in this Adversary

Proceeding while also opposing the Motion to Substitute, CIT is attempting to retain the benefit

of the release in the Settlement Agreement as well as get $2 million back. At the least, MA submits



                                                   7
PHIL1 8840695v.1
                   Case 19-50256-BLS         Doc 23     Filed 04/24/20   Page 8 of 8




that this Adversary Proceeding should be stayed until the Motion to Substitute is fully and finally

resolved because, should CIT’s position with respect to the Motion to Substitute prevail, it will

receive a de facto release and the alleged “inequity” it cites in the Complaint5 will indisputably not

exist.

          17.      Consequently, there is no factual or legal basis for CIT to recover damages or

restitution from MA, nor is it entitled to a declaratory judgment to that effect.

                                       IV.      CONCLUSION

          18.      Accordingly, for the reasons set forth herein, MA respectfully requests that the

Court dismiss the Adversary Proceeding with prejudice and grant such other and further relief as

it deems just and proper.


Dated: April 24, 2020                        /s/ Daniel Dooley
                                             Daniel Dooley, Principal and CEO
                                             Morris Anderson & Associates




5
    See, e.g., Complaint ¶ 68.

                                                    8
PHIL1 8840695v.1
